Case 4:17-cV-4OOll-TSH Document 104 Filed 04/18/19 Page 1 of 1

 

U.S. Departmeot ofJusdce
Unitcd Slalcs Marsha£s Scrvice

 
 

PROCESS RECEIPT AND RE'I`URN
S¢efimmfomILS/cml£c_zf&mb.vl&£d£mbd?

   

 

 

 

 

PLArN'm=F 7 ` l _; ' ' corm'r cAsE NuMBER

UNITF.D s‘rA'rEs or mach _ nw 4:)7-cv-40011

DEFENDANT \J! S\ i'="§TR\Cl L,;UUE‘U waoF PRocEss

DAVID L. ToPPlN, ET AJ.. ;'~,; g'; § ',=§` GF ?¢*.P\SS. F.xEclmoN or Evlc'noN 0RDER

 

NAME OF FNDIVIDUA.L, COMPAN'Y, COR.PORATION, E`.TC TO SERVE OR DESCR|PTION DF PROFERTY TO SE|ZE OR CONDEMN

SERVE DAVID L. 'I`OPPI.N

 

AT ADDRESS (Srreel or RFD. Apamnerrr M:l., CJW. .S'rnr¢ and Z.IP Code)
4 LACHA.NCE ST., GA.R.DNER, MA 0\440

 

SEND NOT|CE OF SERVICE COFY TO R.EQUESTER AT NAME AND ADDRESS BELOW

Numb¢r ol`pmcus tube l

 

chfrcy Nuicz

U.S. Dcpanmcnl of justice

P.O. Box 55, Bcn Frank|in Slation
Washington, DC 20044

served with du's ann 285
Numbef ofpamcs co be l
served in this case

Chcck for service

on u.s.A. “"3

 

 

 

 

SPECEAL INSTRUCTlDNS OR OTHER INFORMAT[ON THAT W'ILL ASSIST IN EXPED]TING SERVICE (J'ndua'e lurin¢s.r andAlr¢ruare Addrcssa,

AL|' Tdepharr¢ Numb¢¢s, and Em‘mar¢d Tr'mu Avui!ablefor Scrvh:¢):

 

 

 

E PLA|NT'iFr

   

 

Ti-'l FPH()NE NU;A.BIER

 

 

   

 

signature origin;sm requesting semc¢ or§ bemlror- DATE
[:] D£FENDANT 202-616~5218 April 9. 2019
j/ SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WR.I'I`E BELOW i`;l:{l$ LINE
l acknowledge receipt for tdc total Toll! Pmr):ss Dl`.s|.n\:l of Dlstn`cl to S\guarun: quu¢.horized USMS Dcputy or C!cl‘k Date
number of process mdlmlod. Ongm Scrve
(Sf`gr| cn!yjizr USM 235 ¢y"more
mm m uslw m is 1 ' h N°‘ N°

 

 

 

 

 

 

 

l hereby cenle and rcmm that l l:l have personally served , ['_`] have legal cvrdmce ol'serv::c. m have executed as shown m "Rr.marlcs'. the process described on the
mdlv!dual. compmy. cnqmmrion, elc., at :h¢ address shown above on the on the mdivldual, company. corpomlmn, 'elc. shown at the address msmed below

 

_N l hereby certify and return that l am unach lo locate lhe indav\:fual, compaoy, corporation, ccc. named above (.S`ee remarks belaw)

 

 

 

 

 

 

 

 

 

 

 

 

 

Namc and lilfc of individual served {¢_`}'nor shown abave) Datc Tcm¢ m am
Lll l$§l |<l Oqzo am

Add.r¢ss (cvmp!err only dzférrrrr than shown above) S\gnalu:t ofU.S. Marshal or D`opuly
l<w ¢L/) ll 5 1 5

Servicc Fee Tolal Milngc Cha.rges Fur\~ardmg Fcc Tolal Chargcs Advance Dcposus Amount owed lo U.S Marshal' or

w finc!udr’ng endeavnr.r) g g (Amount of Rel'und']
REMARKS
R €+U rr\€d ` par /rU$A
$ubjec+ va¢a+eol business
Form USM~ZBS

PR.IOR. VERS|ONS OF TIIIS FORM AR.E OBSOLETE

Rev. ll'l$

